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                      EXHIBIT A
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                                                    U. S. Department of Justice

                                                    Special Counsel


                                                    Washington, D.C. 20530




                                                               May 6, 2022
Via Email

Michael Bosworth, Esq.
Sean M. Berkowitz, Esq.
Latham & Watkins LLP

                Re: United States v. Michael A. Sussmann
                Crim. No. 21-cr-00582 (CRC)

Dear Counsel:

       We write to provide the following supplementary detail, in response to your request for
additional specifics on the substance of Special Agent David Martin’s expected testimony as
outlined in Section I of our prior disclosure (“Domain Name System Data and Analysis”).

    With regard to Special Agent David Martin’s expected testimony concerning the nature and
types of conclusions that can – and cannot – be drawn about persons’ or entities’ online activities
based on a review of DNS data, we expect Agent Martin to state, in substance and in part, and
among other things:

   •   The mere existence of a DNS lookup does not in and of itself reflect or prove the
       existence of actual communications between IP addresses (such as emails).
   •   The mere existence of a DNS lookup also does not in and of itself reflect or prove the
       existence of an actual connection or exchange of substantive information between
       computers (e.g., web browsing or file transfers).
   •   There are a number of other events and causes that can trigger or initiate DNS lookups,
       including security scanning by automated systems/software, spam filtering, and other
       Internet “noise.”
   •   DNS communications can be “spoofed” through a process whereby a DNS lookup is
       made to appear falsely to originate from a particular IP address. In such a scenario, the
       automated response from the receiving IP address is directed to the “spoofed” domain/IP
       address.
    With regard to Special Agent David Martin’s expected testimony concerning the analytic
significance and conclusions that can be drawn based on the provenance and origins (e.g.
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collection source) of DNS data, we expect Agent Martin to state, in substance and in part, and
among other things:

   •   The nature and strength of the conclusions that can be drawn from a given DNS dataset
       depend, in part, on the “visibility” of the collection source, namely, the percentage of all
       global DNS traffic that is available to the collection source.
   •   The more expansive the “visibility” of a collection source (i.e., the greater percentage of
       global DNS traffic that is available to the source), the more conclusions (and stronger
       conclusions) can be drawn about a particular DNS dataset.
   •   For example, if a company collecting passive DNS data has access to 100% of the
       world’s DNS traffic, then searches or queries across its data would permit the collector of
       the data to draw definitive conclusions about the number of DNS lookups between
       particular IP addresses/domains. If a company has access to 2% of the world’s DNS
       traffic, then searches or queries across its data would permit the collector of the data to
       draw only limited conclusions.
   •   It is impossible to know the precise percentage of worldwide DNS data that a particular
       collection source covers.
   •   It nevertheless can be important for an analyst of DNS data to consider the collection
       source and the visibility of that source.




                                                     Sincerely,

                                                     JOHN H. DURHAM
                                                     Special Counsel


                                                By: /S/ Brittain Shaw
                                                    Jonathan E. Algor IV
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